39 F.3d 1176
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Herman E. HARSTON, Petitioner Appellant,v.P. L. Huffman, Respondent Appellee.
    No. 94-6785.
    United States Court of Appeals, Fourth Circuit.
    Submitted Oct. 18, 1994Decided Nov. 14, 1994.
    
      Appeal from the United States District Court for the Western District of Virginia, at Roanoke.  Samuel G. Wilson, District Judge.  (CA-93-692-R)
      Herman E. Harston, Appellant Pro Se.  Katherine P. Baldwin, OFFICE OF THE ATTORNEY GENERAL OF VIRGINIA, Richmond, Virginia, for Appellee.
      W.D.Va.
      DISMISSED.
      Before HALL and MICHAEL, Circuit Judges, and CHAPMAN, Senior Circuit Judge.
      PER CURIAM:
    
    
      1
      Appellant seeks to appeal the district court's order denying relief on his 28 U.S.C. Sec. 2254 (1988) petition.  Our review of the record and the district court's opinion discloses that this appeal is without merit.  Accordingly, we deny a certificate of probable cause to appeal and dismiss the appeal on the reasoning of the district court.*  Harston v. Huffman, No. CA-93-692-R (W.D.Va. June 16, 1994).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    DISMISSED
    
      
        *
         We also grant Petitioner's motion to amend his informal brief and have considered arguments raised therein.  We construe Petitioner's "Petition for Writ of Error" as a supplemental informal brief and have considered the arguments raised therein
      
    
    